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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

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  --
  MHANY         MANAGEMENT INC.,                                                 :
                                                                                 :
                                           Plaintiff,                            :
                                                                                 :
            -and-                                                                :
                                                                                 :
  NEW YORK COMMUNITIES FOR CHANGE, INC., : Case No. 05-cv-2301 (ADS) (ARL)
                                                                                 :
                                           Intervenor-Plaintiff,                 :
                                                                                 :
            -against-                                                            :
                                                                                 :
  INCORPORATED VILLAGE OF GARDEN CITY,                                           :
  GARDEN CITY BOARD OF TRUSTEES, and                                             :
  COUNTY OF NASSAU,                                                              :
                                                                                 :
                                           Defendants.                           :
                                                                                 :
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
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              NOTICE OF MOTION FOR ENTRY OF PARTIAL FINAL JUDGMENT

         PLEASE TAKE NOTICE that, upon the accompanying memorandum of law, and the

  Declaration of Stanley J. Brown, dated October 8, 2017, and the exhibit annexed thereto (the

  “Proposed Judgment”), Plaintiff MHANY Management Inc. and Intervenor-Plaintiff New York

  Community for Change will move this Court before the Honorable Judge Arthur D. Spatt, at the

  United States Courthouse for the Eastern District of New York at 100 Federal Plaza, Central

  Islip, New York, 11722, at a date and time to be set by the Court, for an order, pursuant to

  Federal Rule of Civil Procedure 54(b), directing entry of a partial final judgment against

  defendants Incorporated Village of Garden City and the Garden City Board of Trustees, in the

  form of the Proposed Judgment.
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  Dated: November 8, 2017
         New York, New York

                                      Respectfully submitted,

                                      /s/       Stanley J. Brown   /

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